____ FILED ___ ENTERED
                        Case
____ LOGGED _____ RECEIVED     1:21-mj-00015-TMD Document 2 Filed 01/05/21 Page 1 of 5
2:28 pm, Jan 05 2021
                                                                                            1:21-mj-15 to -16 TMD
AT BALTIMORE
CLERK, U.S. DISTRICT COURT
                 AFFIDAVIT
DISTRICT OF MARYLAND           IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT
BY ______________Deputy
           Your Affiant, Daniel Bedard, being duly sworn, deposes and states the following:

                   1.     I am a Deportation Officer with the United States Department of Homeland

           Security, Immigration and Customs Enforcement (ICE), Enforcement and Removal Operations

           (ERO), presently assigned to the Criminal Prosecutions Unit in Baltimore, Maryland. I have been

           so employed with ICE / ERO since May 2019. I am a graduate of the Basic Immigration

           Enforcement Training Program at the Federal Law Enforcement Training Center in Glynco,

           Georgia. As part of my daily duties as an ERO Deportation Officer, I investigate administrative

           and criminal violations pertaining to U.S. Immigration law, including illegal re-entry after

           deportation in violation of Title 8 U.S.C. §§ 1326(a). As an ERO Deportation Officer, I am

           charged with the duty of enforcing the immigration, customs, and other federal statues, such as,

           but not limited to the offenses described below and other duties imposed by law by the Attorney

           General of the United States and the Secretary of Homeland Security.

                                         PURPOSE OF THE AFFIDAVIT

                   2.     The purpose of this affidavit is to show probable cause that the defendants,

           Alexander JUAREZ-SANCHEZ (AKA: Jose Manuel FLORES), and Domingo RAMIREZ-

           ROBLERO have knowingly and intentionally violated 8 U.S.C. §1326(a) Reentry After

           Deportation (Removal).


                                          SOURCES OF INFORMATION

                   3.     I make the statements in this Affidavit, in part, based on my personal knowledge

           gathered during my participation in this investigation, on information and reports provided by the

           Maryland State Police and from documents located in the defendants’ alien files. I have not set




                                                           1
               Case 1:21-mj-00015-TMD Document 2 Filed 01/05/21 Page 2 of 5

                                                                                    1:21-mj-15 to -16 TMD


forth every fact learned during the course of the investigation, nor do I request this Court rely upon

any facts not set forth herein in reviewing this application.

                                       PROBABLE CAUSE

       4.         JUAREZ-SANCHEZ is a citizen and national of Mexico who entered the United

States without inspection at an unknown place, and at an unknown time before 2014.

          5.      On or around November 13, 2014 JUAREZ-SANCHEZ was taken into ICE

custody and served with a Notice to Appear (“NTA”) following his imprisonment in Indiana

after a conviction for domestic violence that he sustained on May 31, 2014. On or about January

27, 2015, an Immigration Judge in Indianapolis, Indiana issued JUAREZ-SANCHEZ an order to

voluntarily depart the United States to Mexico. On February 10, 2015, JUAREZ-SANCHEZ

departed the United States for Mexico. He subsequently re-entered the United States at an

unknown location and date.

     6.           On or about May 16, 2016 JUAREZ-SANCHEZ was taken into ICE custody and

served with another Notice to Appear (“NTA”). On or about April 5, 2016, an Immigration

Judge in Indianapolis, Indiana issued JUAREZ-SANCHEZ a stipulated final order of removal to

Mexico. On or about May 3, 2016, JUAREZ-SANCHEZ was removed to Mexico by a chartered

flight out of El Paso, Texas.

       7.         On or about July 28th, 2018 JUAREZ-SANCHEZ was arrested by the United

States Border Patrol while attempting to re-enter the United States. He admitted to being a

citizen of Mexico who did not have proper immigration documents to enter the United States.

JUAREZ-SANCHEZ was charged with Illegal entry by an alien in violation of 8 U.S.C. §1325.

On or about July 30, 2018, JUAREZ-SANCHEZ was convicted on this charge in the U.S.




                                                  2
            Case 1:21-mj-00015-TMD Document 2 Filed 01/05/21 Page 3 of 5

                                                                                 1:21-mj-15 to -16 TMD


District court for the Southern District of Texas. On or about August 1, 2018, JUAREZ-

SANCHEZ was removed to Mexico on foot from Laredo, Texas.

       8.         On or about May 16, 2019, JUAREZ-SANCHEZ was arrested by United States

Border Patrol officers in Texas after he illegally reentered the United States. JUAREZ-

SANCHEZ admitted to being a citizen of Mexico and that he had previously been deported from

the United States. On or about May 17, 2019, JUAREZ-SANCHEZ was removed to Mexico on

foot at the Hidalgo, Texas port of entry. He subsequently re-entered the United States at an

unknown place and date.

       9.         On or about July 31, 2012 RAMEREZ-ROBLERO was arrested by United States

Border Patrol in Arizona. On July 31, 2012 RAMEREZ- ROBLERO was issued an Expedited

Order of removal. RAMEREZ- ROBLERO departed the United States for Mexico on July 31,

2012 from Douglas, Arizona on foot.

       10.        On or about April 27, 2014 RAMIREZ- ROBLERO was arrested by United States

Border Patrol in Texas after he illegally reentered the United States. RAMIREZ- ROBLERO

admitted to being a citizen of Mexico and that he had previously been deported from the United

States. On or About April 27, 2014 RAMIREZ- ROBLERO departed the United States for

Mexico on foot from Laredo, Texas. He subsequently re-entered the United States at an unknown

place and date.

       11.        On August 5, 2020, JUAREZ-SANCHEZ and RAMIREZ- ROBLERO were

arrested near Hagerstown, Maryland, by officers of the Maryland State Police (MSP). After a

traffic stop where RAMIREZ-ROBLERO was following another vehicle too closely on I-81

while driving a rented Honda Accord with Indiana license plates, MSP Master Trooper Craig

Miller became suspicious when RAMIREZ-ROBLERO could provide no identification, could



                                                3
          Case 1:21-mj-00015-TMD Document 2 Filed 01/05/21 Page 4 of 5

                                                                                  1:21-mj-15 to -16 TMD


not identify the passenger (JUAREZ-SANCHEZ), and fumbled through questions about where

they were going. Trooper Miller requested a K9 unit, and after the dog alerted for drugs, a

search of the vehicle yielded approximately $47,000 in cash, what was later confirmed by

laboratory analysis to be just under 2 kg of fentanyl and 1 kg of heroin, along with other indicia

of drug smuggling. Both RAMIREZ-ROBLERO and JUAREZ-SANCHEZ initially provided

false names, however, their fingerprints and photographs match those taken while the men had

previously been in United States Border Patrol or ICE custody.

       12.     There is no record that JUAREZ-SANCHEZ or RAMIREZ- ROBLERO ever

obtained permission to reenter the United States from the Secretary for Homeland Security or the

United States Attorney General.




                                                 4
          Case 1:21-mj-00015-TMD Document 2 Filed 01/05/21 Page 5 of 5

                                                                                1:21-mj-15 to -16 TMD


                                        CONCLUSION

       Based on the above mentioned information, I respectfully submit that probable cause exists

to believe that on or about November 4, 2020, JUAREZ-SANCHEZ and RAMIREZ-ROBLERO,

aliens who previously had been deported and removed, knowingly entered and were found in the

United States without having obtained the express consent of the Attorney General of the United

States or his successor, the Secretary for Homeland Security, to reapply for admission into the

United States as required by law, in violation of 8 U.S.C. § 1326(a).




                                                              ____________________________
                                                               Deportation Officer Daniel Bedard
                                                              Department of Homeland Security


Affidavit submitted by email and attested to me as true and accurate by telephone consistent with

Fed. R. Crim. P. 4.1 this ___ day of January 2021.



_________________________
Honorable Thomas DiGirolamo
United States Magistrate Judge




                                                5
